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                        EXHIBIT H
              TO
    PLAINTIFFS’ RESPONSE TO
    DEFENDANTS’ MOTION FOR
      SUMMARY JUDGMENT
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 1                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO
 2
      Civil Action Number 1:22-cv-00581-PAB
 3
 4    Colorado Montana Wyoming
      State Area Conference of the NAACP,
 5    League of Women Voters of Colorado, and
      Mi Familia Vota,
 6
             Plaintiffs,
 7
      vs.
 8
      United States Election Integrity Plan, Shawn Smith,
 9    Ashley Epp, and Holly Kasun,
10          Defendants.
11    -------------------------------------------------------
             VIDEOCONFERENCED DEPOSITION OF HOLLY KASUN
12                         August 16, 2022
      -------------------------------------------------------
13    VIDEOCONFERENCED APPEARANCES:
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 1    trainer.     She's no longer with USEIP.                  Her name was
 2    Tamara.     I can't remember her last name.                      Tamara, she
 3    was part of that.          And Shawn did part of the training,
 4    and then I believe he turned that over mostly to
 5    Tamara.
 6                 Q.    Who is currently doing the training?
 7                 A.    Well, the counties -- if training is
 8    going on at all, which I don't know if it is, I don't
 9    believe it is, but it would be -- the counties
10    themselves would be leveraging the training materials
11    if they wanted to organize and canvass in their
12    counties.
13                 Q.    Are there any current leaders of USEIP?
14                 A.    Leaders.        I guess -- I guess you could
15    say I'm a leader of some sort.                 I mean, but I really am
16    not directing the whole -- again, it's a free
17    association of people.            It's kind of a -- you know,
18    it's very organic and conversational.                     So, you know,
19    I'm a founder, so I guess I would be seen as a leader.
20    And Ashe would be the same thing.                     Shawn and Jeff.        I
21    mean, we were all probably the most involved.
22                 Q.    How about at the county level?                     Is
23    there -- with the way USEIP is sort of structured, are
24    there county-level leaders as well?
25                 A.    Yes.      From my understanding, yes, there

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